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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          '
                                                  '
     Plaintiff,                                   '   Civil Case No._____________
                                                  '
MICHAEL D. KING, and                              §
ASCENT AVIATION SOLUTIONS,                        §
L. L. C.                                          '
                                                  '
     Defendants                                   '


                                COMPLAINT FOR DAMAGES

            The United States of America, for itself and on behalf of its agency, the Federal

Aviation Administration (FAA), alleges as follows:

                                                I.

       This action is brought by the United States of America to recover civil penalties in

the sum of $154,000 from Defendants Michael D. King (“King”) and Ascent Aviation

Solutions L.L.C. (“Ascent”) under 49 U.S.C. § 4630l(a).

                                                II.

      1.          This Court has subject matter jurisdiction over this action under 49 U.S.C.

§§ 4630l (d)(4), 46305; and 28 U.S.C. § 1345.

      2.          This Court has personal jurisdiction over the defendants and venue is proper

in this district under 49 U.S.C. § 46106 and 28 U.S.C. §§ 139l (b), 1395, because the

defendants can be found in, reside in, and have transacted business in the Southern District

of Texas. A substantial part of the events or omissions giving rise to this claim occurred in the

Southern District of Texas.

      3.          Ascent is located in Webster, Texas.
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      4.       King resides in the Southern District of Texas.

      5.       King is the registered agent of Ascent.

                                      III.

      6.       The FAA establishes the requirements for operating commercial flights in

the United States. These requirements are set forth in 14 C. F. R. parts 119 and 135 (“Part

119” and “Part 135”).

      7.       Ascent advertised or otherwise offered to perform operations subject to

Part 135.

      8.       Part 135 sets forth operating requirements for air carriers and operators for

compensation or hire.

      9.       Part 119 addresses certification for air carriers and commercial operators.

It provides that no person may operate as a direct air carrier without an appropriate

certificate and appropriate operations specifications. 14 C. F. R. § 119.5 (g).

      10.      FAA regulations define a direct air carrier as “a person who provides or

offers to provide air transportation and who has control over the operational functions

performed in providing that transportation.” 14 C.F. R. § 110.2.

      11.      The rules of Part 135 apply to a person who engages in any operation governed

by Part 135 without an appropriate certificate and operations specifications required by part

119 of this chapter.

      12.     King is the sole owner and manager of Ascent.

      13.      Neither King nor Ascent holds an air carrier certificate, operations

specifications, or an air operator certificate issued by the Federal Aviation Administration

(FAA). Neither King nor Ascent held an air carrier certificate, operations specifications, or
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an air operator certificate issued by the Federal Aviation Administration (FAA) during the

period February 15, 2017 through August 17, 2017.

      14.      At all times relevant herein, a Cessna 500 aircraft, registration number

N98Q (“the Cessna”), was registered in the name of Ascent.

      15.      Ascent leased the Cessna to Kevin Williams (“Williams”) for a period of one

year beginning February 10, 2017.

      16.      The lease stated that Williams was leasing “the Aircraft without crew” and

would have operational control of the Cessna. The lease stated: “[f]or the times when the

Aircraft has been scheduled and tendered to Kevin Williams, Kevin Williams shall be

considered responsible for the operational control of the Aircraft …with respect to the

exercise of authority over the initiating, conducting and terminating of the flight and the

assumption of risk.”      The lease specifically provided that Williams was responsible for

contracting the pilots.

      17.      The type of lease described above is known in the aviation industry as a “dry

lease.” Under a “dry lease,” the lessor leases the equipment, and the lessee operates it and

assumes the associated risks.

      18.       During the period from February 15, 2017 to August 17, 2017, Ascent,

through the actions of King, transported Williams on the Cessna on the following

fourteen (14) flights:

                  a. On or about February 15, 2017, from David Wayne Hooks
                     Memorial Airport Houston, Texas (DWH) to Memphis
                     International Airport, Memphis, TN (MEM);

                  b. On or about February 15, 2017, from MEM to DWH;


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                 c. On or about February 28, 2017, from DWH to Cleveland Regional
                    Jetport, Cleveland, Tennessee (RZR);

                 d. On or about February 28, 2017, from RZR to Hampton Roads
                    Executive Airport, Norfolk, Virginia (PVG);

                 e. On or about February 28, 2017, from PVG to Gwinnett County
                    Airport- Briscoe Field, Lawrenceville, Georgia (LZU);

                 f. On or about March 1, 2017, from LZU to DWH;

                 g. On or about March 15, 2017, from DWH to Houma-Terrebonne Airport,
                    Houma, Louisiana (HUM);

                 h. On or about March 15, 2017, from HUM to DWH;

                 i. On or about July 19, 2017, from DWH to Lovell Field
                    Airport, Chattanooga, Tennessee (CHA);

                 j. On or about July 19, 2017, from CHA to Charlottesville-
                    Albemarle Airport Charlottesville, Virginia (CHO);

                 k. On or about July 19, 2017, from CHO to CHA;

                 l. On or about July 19, 2017, from CHA to DWH;

                 m. On or about August 17, 2017, from DWH to Nashville
                    International Airport, Nashville, TN (BNA); and

                 n. On or about August 17, 2017, from BNA to DWH.

       19.    Each of the flights referenced in paragraph 18, above, was conducted under

Instrument Flight Rules (IFR).

       20.    Williams paid Ascent for each of these flights.

       21.    Williams did not have operational control of the Cessna on any of these

flights.

       22.    Ascent had operational control of the Cessna for all of these flights.

       23.    Williams did not contract the pilots for any of these flights.

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       24.      Ascent contracted the pilots for all of these flights.

       25.      Ascent and King operated the flights described in paragraph 18 above as a

direct air carrier.

       26.       The purported dry lease was a sham designed to avoid the requirements of

Parts 119 and 135.

       27.       King, in his capacity as owner and manager of Ascent, conducted the flights

referenced in paragraph (18), above, under part 135 without:

                      a. a certificate issued under part 119;

                      b. operations specifications appropriate to conduct operations under part
                         135;

                      c. an accepted current manual containing Ascent’s policies               and
                         procedures; or

                      d. theappropriate economic         authority   from   the   Department    of
                         Transportation.
       28.       King, in his capacity as owner and manager of Ascent, conducted the flights

referenced in paragraph (18), above, under part 135 when neither he nor Ascent:

                      a.   kept an individual record of each pilot used in its operations
                           conducted under part 135;

                      b.   previously conducted a proving run in a turbojet airplane;

                      c.   prepared a load manifest before each takeoff;

                      d.   kept copies of completed load manifests at Ascent’s principal place of
                           operation for each of the above-described flights; or
                      e.   listed in Ascent’s manual the name and title of each person
                            authorized to exercise operational control of Ascent’s aircraft.

       29.      King, in his capacity as owner and manager of Ascent, conducted the flights

referenced above when:


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                  a.   the flights were operated by a pilot who had not passed a written or
                       oral test given by the Administrator or authorized check pilot on those
                       pilots' knowledge within the twelve months preceding each flight, as
                       required under 14 C.F.R. § 135.293(a);

                  b.   the flights were operated by pilots who had not passed a competency
                       check, given by the Administrator or an authorized check pilot, in that
                       class of aircraft, since the beginning of the 12th calendar month before
                       the flights, as required under C.F.R. § 135.293(b).

                  c.   the pilot in command had not, since the beginning of the 6th calendar
                       month before the flights, passed an instrument proficiency check as
                       required under 14 C.F.R. § 135.297(a);

                  d.   the pilot in command had not passed a flight check in the type of aircraft
                       the pilot was to fly since the beginning of the 12th calendar month before
                       those flights required under 14 C.F.R. § 135.299;

                  e.   the pilot-in-command had not completed the appropriate initial or
                       recurrent training phase of an FAA approved training program since
                       the beginning of the 12th calendar month before those flights.

      30.      By reason of the allegations above, Defendants operated as a direct air carrier

without, or in violation of, an appropriate certificate and appropriate operations specifications.

      31.      By reason of the allegations above, Defendants operated as a direct air carrier

without holding appropriate economic authority from the Department of Transportation.

      32.      By reason of the allegations above, Defendants operated as a direct air carrier

without having obtained an air carrier certificate and operations specifications that

prescribe the authorizations, limitations and procedures under which each kind of operation

must be conducted.

                                                    IV.

      33.      By reason of the foregoing, Defendants violated the following Federal

Aviation Regulations:


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          a.   14 C.F.R. § 119.5(g), which states that no person may operate as a direct

               air carrier or as a commercial operator without, or in violation of, an

               appropriate certificate and appropriate operations specifications.

          b.   14 C.F.R. § 119.5(i), which states that no person may operate as a

               direct air carrier without holding appropriate economic authority from

               the Department of Transportation.

          c.   14 C.F.R. § 119.5(k), which states that no person may advertise

               or otherwise offer to perform an operation subject to this part

               unless that person is authorized by the Federal Aviation

               Administration to conduct that operation.

          d.   14 C.F.R. § 119.33(a)(2), which states that a person may not operate

               as a direct air carrier unless that person obtains an air carrier

               certificate.

          e.   14 C.F.R. § 119.33(a)(3), which states that a person may not

               operate as a direct air carrier unless that person obtains operations

               specifications that prescribe the authorizations, limitations and

               procedures under which each kind of operation must be

               conducted.

          f.   14 C.F.R. § 135.3(a)(I), which states that each person operating an

               aircraft in operations under this part shall, while operating an aircraft

               inside the United States, comply with the applicable rules of this

               chapter.


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          g.   14 C.F.R. § 135.21(a), which states each certificate holder, other

               than one who uses only one pilot in the certificate holder’s

               operations, shall prepare and keep current a manual setting forth

               the certificate holder’s procedures and policies acceptable to the

               Administrator.

          h.   14 C.F.R. § 135.63(a)(4), which states that each certificate holder

               shall keep at its principal business office or at other places approved

               by the Administrator, and shall make available for inspection by the

               Administrator an individual record of each pilot used in operations

               under this part.

          i.   14 C.F.R. § 135.77, which states that certificate holder is

               responsible for operational control and shall list, in the manual

               required by §135.21, the name and title of each person authorized

               by it to exercise operational control.

          j.   14 C.F.R. § 135.145(b), which states that no certificate holder may

               operate a turbojet airplane if it has not previously proved a turbojet

               airplane in operations under this part.

          k.   14 C.F.R. § 135.293(a), which states that no certificate holder may

               use a pilot, nor may any person serve as a pilot, unless, since the

               beginning of the 12th calendar month before that service, that pilot has

               passed a written or oral text given by the Administrator or an

               authorized check pilot on that pilot’s knowledge in the areas set forth



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               by that section.

          l.   14 C.F.R. § 135.293(b), which states that no certificate holder may

               use a pilot, nor may any person serve, as a pilot unless, since the

               beginning of the 12th calendar month before that service, that pilot

               has passed a competency check given by the administrator or an

               authorized check pilot in that class of aircraft, if single-engine other

               than turbojet, or that type of aircraft, if helicopter, multiengine

               airplane, or turbojet airplane, to determine the pilot’s competence in

               practical skills and techniques in that aircraft or class of aircraft.

          m. 14 C.F.R. § 135.297(a), which states that no certificate holder may

               use a pilot, nor may any person serve, as a pilot in command of an

               aircraft under IFR unless since the beginning of the 6th calendar

               month before that service that pilot has passed an instrument

               proficiency check under section administered by the Administrator

               or an authorized check pilot.

          n.   14 C.F.R. § 135.299, which states that each certificate holder may use

               a pilot, nor may any person serve, as a pilot in command of a flight

               unless, since the beginning of the 12th calendar month before that

               service, that pilot has passed a flight check in one of the types of

               aircraft which that pilot is to fly.

          o.   14 C.F.R. § 135.323(a), which states that each certificate holder

               required to have a training program under § 135.341 shall establish

               and implement a training program that satisfies the requirements of
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                        this subpart and that ensures that each crewmember, aircraft

                        dispatcher, flight instructor and check airman is adequately trained

                        to perform his or her assigned duties. Prior to implementation, the

                        certificate holder must obtain initial and final FAA approval of the

                        training program.

                   p.   14 C.F.R. § 135.343, which states that no certificates holder

                        may uses a person, nor may any person serve, as a crewmember

                        in operations under this part unless that crewmember has

                        completed the appropriate initial or recurrent training phase of

                        the training program appropriate to the type of operation in

                        which the crewmember is to serve since the beginning of the

                        12th calendar month before that service.

                   q.   14 C.F.R. 91.13(a), which states that no person may operate an

                        aircraft in a careless or reckless manner so as to endanger the

                        life or property of another.

       34.     Under 49 U.S.C. § 46301(a), Defendants are subject to a civil penalty

not to exceed $12,586 for each violation of the Federal Aviation Regulations.

       WHEREFORE, Plaintiff demands judgment jointly and severally against Defendants

Michael D. King and Ascent Aviation Solutions in the sum of $154,000, together with costs

and interest from the date of entry of judgment.




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                               Respectfully submitted,

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                               UNITED STATES ATTORNEY

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